       Case
        Case2:15-cr-00071-JAD-GWF
              2:15-cr-00071-JAD-GWF Document
                                    Document166  Filed10/19/16
                                             155 Filed 10/21/16 Page
                                                                 Page11
                                                                      ofof
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 211 Nevada State Bar No. 11479
       PAUL D. RIDDLE
 3 I I Assistant Federal Public Defender
       411 E. Bonneville, Ste. 250
 4 I I Las Vegas, Nevada 89101
       (702) 388-6577/Phone
 5 I I (702) 388-6261/Fax
       paul_riddle@fd.org
 6
 7 I I Attorney for Jose Roglio Florez

 8
                                 UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10

11 11 UNITED STATES OF AMERICA,                           Case No. 2:15-cr-071-JAD-GWF

12                  Plaintiff,                            UNOPPOSED MOTION TO
                                                          WAIVE APPEARANCE AT
13           V.
                                                          ARRAIGNMENT AND PLEA
14 I I JOSE ROGLIO FLOREZ,                                HEARING ON THIRD
                                                          SUPERSEDING INDICTMENT
15                  Defendant.

16

17           COMES NOW THE DEFENDANT, Jose Roglio Florez, by and through Rene L.
18   Valladares, Federal Public Defender and his counsel of record, Paul D. Riddle, Assistant
19   Federal Public Defender, and hereby respectfully moves this Court for an order to waive his
20   appearance on the Third Superseding Indictment (ECF 135) filed on October 5, 2016.
21           Although Federal Rules of Criminal Procedure 43(a) mandate a defendant appear for
22   the initial arraignment and plea on indictment, defendant Jose Roglio Florez made his initial
23   appearance for arraignment and plea in this case on March 18, 2015 (ECF 15).
24   II I
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         Case
          Case2:15-cr-00071-JAD-GWF
                2:15-cr-00071-JAD-GWF Document
                                      Document166  Filed10/19/16
                                               155 Filed 10/21/16 Page
                                                                   Page22
                                                                        ofof
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 1II         After conferring, government counsel has indicated to undersigned defense counsel that

 2 I I he is not opposed to the waiver of Mr. Florez's appearance. The third superseding indictment

 3 I I filed has changed count three from Armed Bank Robbery to Interference with Commerce by

 4 I I Robbery, however, the factual allegations remain the same.

 5II         The defendant, Jose Roglio Florez, hereby requests this Court to proceed during

 6 I I defendant's absence pursuant to this waiver, and hereby agrees that defendant's interests are

 7 I I deemed represented at all times by the presence of defense counsel:
 81 I               (1) The defendant affirms he has received and read a copy of the
                    indictment and understands the nature of the charge(s);
 9II                (2) The defendant understands and acknowledges that he has the
                    right to remain silent, the right to trial by jury, the right to
1O I I              compulsory process, and the right to the assistance of counsel;
                    (3) Counsel affirms that he has no reason to question the
11 I I              defendant's competence to assist in the defense of the case;
                    (4) Defendant has a right to be present at the arraignment and
12 I I              waives that right;
                    (5) Defendant's plea to the charge(s) is not guilty
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             DATED:        (64(,/!k                       1
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                                                          ,. PAUL D. RIDDLE
17                                                        Assistant Federal Public Defender
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             DATED:      /{)- /    7· /{                  \ -r;:t:··VV :/ ',   I..,,~~
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                                   Document166  Filed10/19/16
                                            155 Filed 10/21/16 Page
                                                                Page33
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 1           Accordingly, Mr. Florez respectfully requests the Court waive his appearance Thursday,
 2   October 13, 2016 at 3:00 p.m.
 3
 4           Respectfully submitted,
 5
 6                19th th of October, 2016.
      DATED this ---                                RENE L. VALLADARES
                                                    Federal Public Defender
 7
 8                                             By: Isl Paul D. Riddle
                                                   PAUL D. RIDDLE
 9                                                 Assistant Federal Public Defender
                                                   Attorney for Jose Roglio Florez
10
11
12
13   IT IS SO ORDERED:
      this ___
           20th         October _
                day of ____
14
15   2016.

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                                                    UNITED STA TES MAGISTRATE JUDGE
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                                             Document166  Filed10/19/16
                                                      155 Filed 10/21/16 Page
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         1I I                           CERTIFICATE OF ELECTRONIC SERVICE

         2                The undersigned hereby certifies that she is an employee of the Federal Public Defender

         3      for the District of Nevada and is a person of such age and discretion as to be competent to serve

         4      papers.

         5                That on October 19     , 2016, she served an electronic copy of the above and foregoing

         6      UNOPPOSED MOTION TO WAIVE APPEARANCE AT ARRAIGNMENT AND PLEA
         7      HEARING ON THIRD SUPERSEDING INDICTMENT by electronic service (ECF) to the
         8 I I person named below:
         9

     10                                  DANIEL G. BOGDEN
                                         United States Attorney
     11                                  ALEXANDRA M. MICHAEL
                                         ANDREW DUNCAN
     12                                  ROBERKNIEF
                                         Assistant United States Attorney
     13                                  333 Las Vegas Blvd. So. 5th Floor
                                         Las Vegas, NV 89101
     14

     15                                                           ls/Nancy Vasquez, Legal Assistant
                                                                  Employee of the Federal Public Defender
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